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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


____________________________________
KEVIN SCHIAVONE,
            Plaintiff

v.
                                                      Case No.: 1:19-cv-10435-RWZ
CITY OF LAWRENCE, et al.

               Defendants

             MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO
                       AMEND THE COMPLAINT


       Plaintiff Kevin Schiavone seeks leave from this Court to amend the Complaint, pursuant

to Fed. R. Civ. P. 15(a)(2). The Plaintiff seeks to add factual information and allegations into the

record to further support his claims and prayer for relief. The proposed Amended Complaint also

makes some changes in the factual information and allegations due to changing circumstances

and information received. It does not add new defendants or causes of action.

       Rule 15(a)(2) permits amendment of a complaint by leave of court and advises that “[t]he

court should freely give leave when justice so requires.” Such leave should be granted here. The

Defendants will not be prejudiced by an amendment, as discovery has not yet commenced. There

is more than ample time for Defendants to take discovery concerning the new allegations and

information in the proposed Amended Complaint. Additionally, the Court and Parties discussed

the Plaintiff’s intention to file an Amended Complaint at the Scheduling Conference on June 4,

2019 and no objection was raised to the idea at that time.
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       For these reasons, Plaintiff Kevin Schiavone respectfully requests that this Court grant

his Motion to Amend the Complaint and allow the proposed Amended Complaint to be

docketed.


Dated: June 28, 2019                                          Respectfully submitted,
                                                              For Plaintiff,
                                                              By his attorney,

                                                              /s/ Seldon E. Nason, Jr.
                                                              Seldon E. Nason, Jr., BBO# 696905
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will therefore
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent this day to those participants indicated as non-registered
participants.

Dated: June 28, 2019                                          /s/ Seldon E. Nason, Jr.
                                                              Seldon E. Nason, Jr., BBO# 696905
